     5,&+$5'-68//,9$1
     &DOLIRUQLD6WDWH%DU1R
     /$:2)),&(62)5,&+$5'-68//,9$1
     6RXWK%DUULQJWRQ$YHQXH6XLWH
     /RV$QJHOHV&$
     7HO  
     (0DLO&KLHIWULDOFRXQVHO#*PDLOFRP                                 Motion GRANTED for extension
                                                                         to file pretrial motions to
     $WWRUQH\VIRU(OLFHR)XHUWH%DUULJD                                 5/16/14.




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                                0,''/(',675,&72)7(11(66((

                                       1$6+9,//(',9,6,21

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                        3ODLQWLII                      7KH+RQRUDEOH$OHWD$7UDXJHU
                                                        86'LVWULFW-XGJH
Y
                                                        027,21 72 (;7(1' 027,21 ),/,1*
-$9,(5321&(&85$6&2HWDO                           '$7( '(&/$5$7,21 2) $77251(<
                                                        5,&+$5' - 68//,9$1 ,1 6833257
                        'HIHQGDQW                      7+(5(2)

                                                        'DWH7%'
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         7+(&28576+28/'(;7(1'7+(027,21),/,1*'$7(,125'(572

         35(6(59(05)8(57(¶6WK$0(1'0(175,*+772&2816(/

         'HIHQGDQW(OLFLR)XHUWHUHVSHFWIXOO\UHTXHVWVWKDWWKHFRXUWH[WHQGWKHPRWLRQGDWHGD\VWR



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